        Case 4:16-cv-00584-RH-CAS Document 121 Filed 11/25/17 Page 1 of 4


                                                                               Page 1 of 4

              IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION



AMANDA CIMILLO,

                 Plaintiff,

v.                                            CASE NO. 4:16cv584-RH/CAS

ROLLIN AUSTIN et al.,

          Defendants.
______________________________________/


                ORDER DENYING THE DEPARTMENT’S MOTION
                TO DISMISS THE THIRD AMENDED COMPLAINT


        This case arises from the death of Randall Jordan-Aparo while in the

custody of the Florida Department of Corrections. The plaintiff is the personal

representative of Mr. Jordan-Aparo’s estate. The third amended complaint asserts

claims against 14 individuals based on state and federal law. The third amended

complaint also asserts a claim against the Florida Department of Corrections under

the Americans with Disabilities Act and the Rehabilitation Act of 1973. The

Department has moved to dismiss for failure to state a claim on which relief can be

granted. This order denies the motion.




Case No. 4:16cv584-RH/CAS
        Case 4:16-cv-00584-RH-CAS Document 121 Filed 11/25/17 Page 2 of 4


                                                                                  Page 2 of 4

         To survive such a motion, a plaintiff must plead “factual content that allows

the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). For purposes of

a motion to dismiss, the complaint’s factual allegations, though not its legal

conclusions, must be accepted as true. Id.; see also Bell Atl. Corp. v. Twombly, 550

U.S. 544, 555 (2007).

         Here the third amended complaint is sufficient. It alleges, in considerable

detail, that Mr. Jordan-Aparo suffered from a disability, Osler-Weber-Rendu

disease, that Department employees were deliberately indifferent to the need to

treat the disease and its symptoms, that employees continued their indifference

when Mr. Jordan-Aparo presented with life-threatening conditions, and that Mr.

Jordan-Aparo died as a result. The third amended complaint alleges these and other

actions constituted discrimination against Mr. Jordan-Aparo based on his

disability.

         The Department says Mr. Jordan-Aparo is complaining only about the

employees’ failure to provide his preferred treatment—not the failure to provide

any treatment at all—and that the failure to provide a prisoner’s preferred

treatment does not violate the ADA or Rehabilitation Act. But merely failing to

provide Mr. Jordan-Aparo’s preferred treatment is not what the third amended

complaint alleges. The third amended complaint squarely alleges deliberate

Case No: 4:16cv584-RH/CAS
        Case 4:16-cv-00584-RH-CAS Document 121 Filed 11/25/17 Page 3 of 4


                                                                                Page 3 of 4

indifference, both in words and substance. The third amended complaint alleges

discrimination based on disability—that the Department failed to treat Mr. Jordan-

Aparo’s disability, a failure that denied him access to the services and activities

available to other inmates. Other inmates, after all, kept on living—continued to

participate in the Department’s services and activities.

         Negligence without more does not violate the statutes. Choosing the wrong

treatment, without more, does not violate the statutes. But one can provide some

treatment and still be deliberately indifferent—still discriminate based on

disability. A policy of treating strokes or heart attacks with aspirin and nothing

more would not do. And so too here: treating Mr. Jordan-Aparo’s life-threatening

symptoms with Tylenol, as the plaintiff alleges occurred, would not do. If the

Department asserts that providing at least some treatment is always sufficient to

exonerate the Department from liability under the ADA or Rehabilitation Act, the

Department is simply wrong.

         The Department may or may not have been deliberately indifferent to a

disability, and any deliberate indifference may or may not have caused Mr. Jordan-

Aparo’s death. But those issues cannot be resolved on the Department’s motion to

dismiss. It remains true, after Twombly and Iqbal as before, that “federal courts and

litigants must rely on summary judgment and control of discovery to weed out

unmeritorious claims sooner rather than later.” Leatherman v. Tarrant Cty.

Case No: 4:16cv584-RH/CAS
        Case 4:16-cv-00584-RH-CAS Document 121 Filed 11/25/17 Page 4 of 4


                                                                          Page 4 of 4

Narcotics Intelligence & Coordination Unit, 507 U.S. 163, 168-69 (1993). Factual

disputes cannot properly be resolved on a motion to dismiss.

         For these reasons,

         IT IS ORDERED:

         The Department’s motion to dismiss, ECF No. 107, is denied.

         SO ORDERED on November 25, 2017.

                                       s/Robert L. Hinkle
                                       United States District Judge




Case No: 4:16cv584-RH/CAS
